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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

UNITED STATES OF AMERICA

-vs-                                                                Case No. 1:06-CR-313-02-JOF

EDMUND DUHANEY
                                                                    Defendant’s Attorney:
                                                                    DONALD F. SAMUEL

                                  JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November 1, 1987)

The defendant plead guilty to Count(s) ONE of the Indictment.

Accordingly, the defendant is adjudged guilty of such count(s) which involves the following offense:

Title & Section                            Nature of Offense                          Count No.

18:1832(a)(5)                              Conspiracy to Commit Theft                 1
                                           Of Trade Secrets

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $ 100.00 which shall be due immediately.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No.         1003                                        Date of Imposition of Sentence:
Defendant’s Date of Birth:        1963                                                       June 5, 2007
Defendant’s Mailing Address:
Union City, GA 30291


Signed this the 7th day of June, 2007.



                                                                /s/ J. Owen Forrester
                                                               J. OWEN FORRESTER
                                                               SENIOR UNITED STATES DISTRICT JUDGE
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1:06-CR-313-02-JOF : EDMUND DUHANEY
                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of Twenty Four (24) Months.



The defendant is remanded to the custody of the United States Marshal.




                                             RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                         __________________________________
                                                                UNITED STATES MARSHAL


                                                      By:__________________________________
                                                                          Deputy U.S. Marshal
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                                         SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of Three (3) Years.

While on supervised release, the defendant shall not commit another federal, state or local crime and shall
not illegally possess a controlled substance. The defendant shall comply with the standard and special
conditions that have been adopted by this court (set forth below). If this judgment imposes a restitution
obligation, it shall be a condition of supervised release that the defendant pay any such restitution that remains
unpaid at the commencement of the term of supervised release. The defendant shall comply with the
following additional conditions:

The defendant shall not own, possess or have under his control any firearm, dangerous weapon or other
destructive device.

The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to 42
U.S.C. 14135a(d)(1) and 10 U.S.C. 1565(d), which requires mandatory DNA testing for federal offenders
convicted of felony offenses.

The defendant shall not communicate Coca-Cola related information to another party.

The defendant shall complete Forty (40) Hours of community service during the first year of supervised
release in lieu of a fine, under the terms and conditions directed by the probation officer.

The defendant shall make a full and complete disclosure of finances and submit to an audit of financial
documents, at the request of the United States Probation Officer.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer unless the defendant is in compliance with the installment payment schedule.
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                        STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.     The defendant shall report to the probation officer as directed by the court or probation officer and
       shall submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
       of the probation officer;

4.     The defendant shall support his or her dependents and meet other family responsibilities;

5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

6.     The defendant shall notify the probation officer within 72 hours of any change in residence or
       employment;

7.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
       such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
       as directed by the probation officer to determine the use of any controlled substance;

8.     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered;

9.     The defendant shall not associate with any persons engaged in criminal activity, and shall not
       associate with any person convicted of a felony unless granted permission to do so by the probation
       officer;

10.    The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;

11.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
       law enforcement officer;

12.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendant’s compliance with such
       notification requirement.
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1:06-CR-313-02-JOF :EDMUND DUHANEY
                                              RESTITUTION

The defendant shall make restitution, on count 1, jointly and severally with the co-defendants Joya Williams
and Ibrahim Dimson, to the following person(s) in the following amounts:

        Name of Payee                                     Amount of Restitution

        The Coca-Cola Company                             $40,000.00
        Attn: C. Ben Garren, Jr.,
        Associate General Counsel
        P.O. Box 1734
        Atlanta, GA 30301-1734

The defendant shall make monthly proportional payments towards restitution at a rate not to exceed 25% of
the defendant’s gross income in excess of $12,000.00 a year.

No interest shall be earned on the restitution.

Restitution shall be paid during supervised release, and not during incarceration.
